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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

CAREY D. EBERT,                                §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §          Civil Action No.: 4:15-cv-225-O
                                               §
HOWARD MILLER APPEL, et al.,                   §
                                               §
       Defendants.                             §


                               NOTICE OF CASH DEPOSIT

       Please take notice that, as authorized by the Court’s Order dated May 11, 2018 (ECF No.

367), John Paul DeJoria has this day deposited $11,280,250.00 into the registry of the court to

secure a stay pending appeal of the Final Judgment signed on March 7, 2018.

       Dated: May 14, 2018.

                                           Respectfully submitted,

                                           MCGUIREWOODS LLP

                                           /s/ Thomas M. Farrell
                                           Thomas M. Farrell
                                           State Bar No. 06839250
                                           tfarrell@mcguirewoods.com
                                           Charles B. Hampton
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                                           Houston, TX 77002
                                           (713) 571-9191
                                           (713) 571-9652 (Fax)

                                           COUNSEL FOR JOHN PAUL DEJORIA
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was served on all counsel of record
on this 14th day of May, 2018, via the Court’s ECF filing system.


                                             /s/ Thomas M. Farrell
                                             Thomas M. Farrell


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                                                2
Payment Details Report
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Company: McGuire Woods LLP
Requester: name, Julia
Run Date: 05/14/2018 12:23:07 PM CDT

Domestic High Value (Wire)
Payment Category:Urgent/Wire


                         Status: Confirmed by Bank
            Transaction Number: 185EC42100RZ0W52


 Debit Account Information

                     Debit Bank:     111000025
                  Debit Account:     488033883065
            Debit Account Name:      Texas IOLTA Trust Account
                 Debit Currency:     USD


 Beneficiary Details

              Beneficiary Name:      US District Courts Northern Texas         Beneficiary Account: 00004677
           Beneficiary Address:      na                                         Beneficiary Bank ID: 021030004
                Beneficiary City:    na                                                              US DEPARTMENT OF THE TREASURY
        Beneficiary Postal Code:                                                                     33 LIBERTY ST
           Beneficiary Country:      US - United States of America                                   NEW YORK CITY
                                                                                                     US - United States of America
                                                                                  Beneficiary Email:
                                                                         Beneficiary Mobile Number:


 Payment Details

                Credit Currency: USD                                                    Value Date: 05/14/2018
                 Credit Amount: 11,280,250.00


 Optional Information

    Sender's Reference Number: 185EC42100RZ0W52                             Beneficiary Information: Deposit in Court Registry in Lieu
                                                                                                     of Supersedeas Bond, For John Paul
                                                                                                     DeJoria, ABA Short Name: TREAS NYC
                                                                                                     Type/Subtype1000,No 4:15-cv-00225.O


 Additional Routing

           Intermediary Bank ID:                                              Receiver Information:


 Control Information

                            Input:   ja509053                                           Input Time: 05/14/2018 11:57:14 AM CDT
                         Modified:   ja509053                                                 Time: 05/14/2018 12:02:00 PM CDT
                       Approved:     pm116311                                                 Time: 05/14/2018 12:16:22 PM CDT
             Initial Confirmation:   WTX:2018051400346201
                  Confirmation #:    FEDR:20180514B6B7HU4R009094
